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                          UNITED STATES DISTRICT COURT
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                                   EASTERN DISTRICT OF CALIFORNIA
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11    CENTRAL SIERRA ENVIRONMENTAL                    Case No. 1:17-cv-00441-LJO-SAB
      RESOURCE CENTER, et al.,
12                                                    ORDER DIRECTING CLERK OF THE
                     Plaintiffs,                      COURT TO TERMINATE MICHAEL CEJA
13                                                    MARTINEZ AS ATTORNEY FOR
              v.                                      DEFENDANTS
14
      STANISLAUS NATIONAL FOREST, et al.,             (ECF No. 8)
15
                     Defendants.
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17            On August 9, 2019, Defendants filed a notice of change in designation of counsel.

18 Defendants request that Michael Ceja Martinez be removed as attorney of record. Accordingly,

19 the Clerk of the Court is HEREBY DIRECTED to terminate Michael Ceja Martinez as attorney

20 for Defendants in this action.

21 IT IS SO ORDERED.

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     Dated:     August 12, 2019
23                                                    UNITED STATES MAGISTRATE JUDGE

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